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uNrrED sTATEs oF AMERch, §§:i:§: i:i:j§§:§:
Praimirr,
vs.
cR. No. 05-20172-5
JAlME wAr_sH,
Defendant.

 

ORDER ON CONT|NUANCE AND SPECIFY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on lVlay 31 , 2005 At that time, counsel for the
defendant requested a continuance of the June 6, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to August 1, 2005 with a
report date of Mondav. Julv 25. 2005. at 9:30 a.m., in Courtroom 1, 11th Floor of the
Federal Bui|ding, |Vlemphis, TN.

The period from June 17, 2005 through August 12, 2005 is excludable under 18

U.S.C. § 31 61 (h)(B)(B)(iv) because the ends ofjustice served in allowing for additional time

to prepare outweigh the need for a edy trial.
ir is so oRDEREo this gm ne 2005.

U|EL BREEN
UNIT D STATES D|STR| T JUDGE

 

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 21 in
case 2:05-CR-20172 Was distributed by faX, mail, or direct printing on
June 9, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

